Case 2:04-cr-20503-SH|\/| Document 58 Filed 08/26/05 Page 1 of 2 Page|D 77

 

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IN THE UNITED STATES DISTRICT COURT '-
FoR THE wEsTERN DISTRICT oF TENNESSEE

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UNITED sTATEs OF AMERICA, :EWW/D:'%§JDBNZ;H,S

vs. NO. 04-20503“1»1@1

BRUCE BARNHILL,

Defendant.

 

ORDER ALLOWING DEPOSITION OF MATERIAL WITNESS

 

Before the court is defendant's May 23, 2005, motion for
leave to take the deposition of a material Witness pursuant to
Fed.R.Crim.P. 15(a). Having considered the motion, the
government's response in opposition, and defendant’s further
reply, the court finds that the motion is well taken and should
be granted. Defendant may take the deposition of Max Bolton, at
the convenience of the parties and Mr. Bolton, but no later than
September 16, 2005.

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It is so ORDERED this 1' day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I' JUDGE

 

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ThiS notice confirms a copy of the document docketed as number 58 in
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Honcrable Samuel Mays
US DISTRICT COURT

